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April 3°, 2021
To whom it may concem,

My name fs Irina Khater, | am Julian’s uncle's wife for over 20 years and thai is how
long | know Julian. He is a great, upstanding, extremely polite, hard working person with
a big heart. He is always happy to help with absolutely anything, from preparing to
cleaning avter the family party, to fixing stuff around the house, to help anyone who just
simply need any type of help. He is from a religious family, he goes to church and
participates in church events. He |s sweet, smart, genercus, friendly, honest and very
rellabie man. He is amazing with kids, he is a great cousin to my sons and to everyone |
know: There is absolute nathing bad that | could think of to say about Julian, except that
he is a great man, big heart and open arms!

Please take this letter into consideration when thinking of Julian, and do not hesitate to
contact me should you have any questions regarding this matter.

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Sincerely,
Irina Albatova Khater

 

 
